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                Exhibit 19
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From:             Cesare Cerrito [cc@coillteancapital.ch]
Sent :            4/11/2017 9:08:52 AM
To:               'Martin Dowd' [martin.dowd@cbre-syr.com]
CC:               'Peter Finn' [peter.finn@cbre-syr.com]; 'Matthew Allan' [m .allan@coillteancapital.ch]
Subject:          RE : Revised purchase Agreement for 800 S. Wilbur Ave Syracuse NY


Dear Marty,

I apologize for the delay in replying. The shareholder was travelling and it took me some time to get in touch with him. I
finally did yesterday. He informed me that the you should inform the Buyer that the offer is rejected and the property is
no longer for sale. Moreover, I was instructed to give you advance notice that we will not be renewing the listing
agreement when the current extension expires on May 17th.

Respectfully,
Cesare Cerrito



From: Martin Dowd [mailto:martin.dowd@cbre-syr.com]
Sent: mercredi 29 mars 2017 23:09
To: Cesare Cerrito <cc@coillteancapital.ch>; Matthew Allan <m.allan@coillteancapital.ch>
Cc: Peter Finn <peter.finn@cbre-syr.com>
Subject: Revised purchase Agreement for 800 S. Wilbur Ave Syracuse NY

Matthew and Cesare:

The Buyer has been concerned about the unresponsiveness from the Sellers, but Peter and I continue to tell him that we
should be hearing something any day.

The buyer informed us that he realized that he made a math error in on the "Balance" as he forgot to deduct his deposit
from this amount, therefore he wanted to resubmit the contract.

Because he wanted to resubmit with a new date on the closing, Peter and I suggested that he also delete the "Attorney
Approval" clause as his attorney has already reviewed and approved this document. Further, the Buyer has been
concerned about an alleged lien on this asset that has been filed by Blackhawk Tactical Security. We suggested that in
order to avoid any last minute complications at closings, often a contract will identify who is due money at closing,
which information can alleviate confusion as the closing draws near. We provided him the information that he included
in the clause titled "Additional Disbursements at Closing".

If you are of the mindset to sell this asset, please execute and return the attached contract.

If you are not interested in selling, please extend us the courtesy of advising us.

Marty


Martin Dowd I Senior Broker
CBREISyracuse I Brokerage Services
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martin.dowd@cbre-syr.com I www.cbre.com

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